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AO 91 (Rev. ll/l l) Criminal Complaint

 

UNITED STATES DISTRICT CoURT

for the

Southern District of lndiana

 

 

 

United States` of America )
v. )
) Case No.
) 1:18-mj-00503
Dakota Ho||and §
)
Defena'ant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 17, 2018 in the county of MariOn in the
Southern District of |ndiana , the defendant(s) violated:
Code Section ' Oj?"ense Description
Count 1 - 21 U.S.C. §§ 841(a)(1)v Possession With |ntent to Distribute Methamphetamine, a Schedu|e ll
and 841(b)(1)(C) Non-Narcotic Contro||ed Substance
Count 2 - 18 U.S.C. § 924(c) Carrying a Firearm Duting and in Re|ation to a Drug Traft”lcking Crime
Count 3 - 18 U.S.C. § 922(g)(1) Possession of a Firearm by a Prohibited Person

This criminal complaint is based on these facts:

See attached Affidavit.

d Continued on the attached sheet.

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Complainant ’s signature

Brian Reardon, Specia| Agent

 

‘ };rinted na)neana' title

Sworn to before me and signed in my presence. " » 17>?~\ _ k
. » //l j

Date: 22 41 Ak M[Z

/ y ]%Judge’s Signalure
City and State; |ndianapo|is, |ndiana / Mark J. Dinsmore

Printed name and title

  

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LFID_M
Your Affiant, Brian Reardon, being first duly sworn upon my oath, state as follows:
Introduction and Agent Background

l. Your Afflant is a Special Agent (SA) for the Bureau of Alcohol, Tobacco,
Firearms, and Explosives (ATF), and has served in this capacity since March 2015. Your Affiant
is currently assigned to the lndianapolis Group I Field Office Achilles Task Force and charged
with investigating violations of federal firearms, explosives, and arson laws, and offenses
enumerated in Title 18 and Title 26 of the United States Code, for which your Affiant has
received formal training at the Federal Law Enforcement Training Center and the ATF National
Academy.

2. Prior to becoming a Special Agent with ATF, your Affiant was a police officer
and narcotics investigator with the New Albany lndiana Police Departmcnt for approximately six
years. In addition to day-to-day narcotics investigations, your Affiant was assigned as a Task
Force Officer (TFO) to the Federal Bureau of lnvestigations Safe Streets Gang Task Force for
three years.

3. Your Affiant has become aware of the facts and circumstances described below
through personal observation, training and experience, information provided by other law
enforcement officers, witness interviews, and suspect interview(s). Since this affidavit is being
submitted for the limited purpose of securing an arrest warrant, your Affiant has not included
each and every fact known concerning this investigation Rather, your Affiant has set forth only
those facts that are believed to be necessary to establish probable cause to issue an arrest warrant.
The information included herein is either personally known to your affiant or has been relayed

by other law enforcement officers during the course of the investigation

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4. This Affidavit is submitted in support of a criminal complaint charging Dakota
HOLLAND, date of birth XX/XX/l995 with Intent to Distribute Methamphetamine, a Schedule
ll Non-Narcotic Controlled Substance, in violation of Title 21, United States Code, Sections
84l(a)(l) and 841(b)(1)(C), for Carrying a Firearm during and in relation to a Drug Trafficking
Crime, in violation of Title 18, United States Code, Section 924(c), and Possession of a Firearm
By a Prohibited Person in Violation of Title 18, United States Code, Sections 922(g)(l). The
information contained in this Affidavit is a combination of information known to me personally
and related to me by other law enforcement officers either through direct conversations with

them or through their official written reports.
Probable Cause

5. On May l7, 2018, an officer with the Indianapolis Metropolitan Police
Department conducted a traffic stop on a black Pontiac for numerous traffic violations. The
traffic stop occurred in Indianapolis, Marion County, Indiana in the Southern District of Indiana.
The front seat passenger, Dakota Holland, was observed to be making furtive movements
towards the right side of the vehicle, next to the passenger door. When contact was made with
the vehicle, the smell of marijuana was detected by officers. The driver was cooperative
Holland hesitated to provide his name. While getting Holland’s information, a black handgun
was observed in arms reach of Holland, in the passenger door in plain view, in the same area
where Holland had been making furtive movements Holland was immediately detained. The
driver stated that the gun belonged to Holland.

6. During a search of Holland incident to arrest, Holland stated he had
methamphetamine and heroin on his person. Multiple bags were located in his pocket, which

contained approximately ll grams of a mixture or substance that contained a detectable amount

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of methamphetamine, as well as $397 United States Currency. The firearm, a Smith and Wesson
9mm handgun bearing serial number HXY0586, was retrieved from the vehicle. The firearm
was stolen ten days prior and had travelled in interstate commerce.

7. Holland has a prior conviction for crimes punishable by more than one year of
imprisonment for Armed Robbery in cause 49G06-1207-FB-049355, Marion County, Indiana on

or about July 19, 2012.
Summary and Request

8. Based on the information in this Affidavit, l submit there is probable cause to
believe that on or about May 17, 2018, Dakota HOLLAND committed the offenses of intent to
distribute a mixture or substance containing a detectable amount of methamphetamine, a Schedule
II Non-Narcotic Controlled Substance, in violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(C), for carrying a firearm during and in relation to a drug trafficking
crime, in violation of Title 18, United States Code, Section 924(0), and for possession of a firearm
while being a prohibited person in violation of Title 18, United States Code, Section 922(g)(1).
Accordingly, 1 respectfully request this Court issue a criminal complaint charging him with those

offenses along with a warrant for his arrest.

    

Brian R ardon, Special Agent
Bureau of Alcohol, Tobacco, Firearms and
Explosives

Sworn to before me, and subscribed 1n my presenc /e,»thisé day of May 2018.
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United tate trict Court

Mark J:g) :g)mssn§j, `Z,Magistrate Judge \
Southerii Distr t of Indiana

